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                      EXHIBIT 1
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                          Miami Division


   DONALD J. TRUMP,

                            Plaintiff,                         Case No. 23-cv-21377-DPG

                    v.

   MICHAEL D. COHEN,

                            Defendant.


                          [PROPOSED] ORDER ON DISCOVERY MATTERS
                         RAISED DURING THE SEPTEMBER 5, 2023 HEARING

            This cause, having come before this Court upon Defendant Michael D. Cohen’s

   (“Defendant”) Motion for Hearing [D.E. 52] on September 5, 2023, and the Court having reviewed

   the Motion for Hearing, heard arguments of counsel, and being otherwise advised in the premises,

   finds as follows:

      I.         Plaintiff’s Deposition.

            The Court orders Plaintiff to appear for his deposition on October 3, 2023, at a time and

   location to be set by court-order after Defendant submits his proposal for a neutral location in West

   Palm Beach, Florida by September 12, 2023. Plaintiff must arrange for any necessary security

   protocols and advise Defendant of such reasonable protocols by 5:00 PM on September 22, 2023.

      II.        Plaintiff’s Amended Responses to Defendant’s First Request for Production.

            As for Plaintiff’s Amended Responses to Defendant’s First Request for Production, served

   on September 5, 2023, the Court orders:

            A.      Alan Garten, the attorney supervising Plaintiff’s discovery responses, must file a

                    sworn declaration setting forth (1) when data preservation measures were
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                 implemented and what they entailed; (2) what criteria were used to separate

                 responsive from non-responsive documents, how that distinction was drawn, and

                 who was involved in assessing responsiveness; and (3) each step taken in Plaintiff’s

                 search and review process, including at least the following details for each step:

                          i. when the step commenced and concluded;

                         ii. the identity of each person who participated in each step—and the role

                             they played in that step;

                        iii. the locations, repositories, and/or custodians searched, whether

                             physical or electronic, during that step;

                         iv. the time period searched for during that step;

                         v. whether documents identified in that step were produced as they exist

                             in the normal course of business or otherwise, and

                         vi. for any steps involving the search of electronic sources, the search

                             terms utilized and the specific universe of ESI being searched.

           B.    Plaintiff, Donald J. Trump, must file a sworn certification that his Amended

                 Responses to Defendant’s First Request for Production are true and accurate, that

                 the requisite preservation, search, and production is complete, that no further

                 production is owed, that the details set forth in Mr. Garten’s declaration are true

                 and accurate to the best of his knowledge, and the steps (if any) that he took to

                 validate the details set forth in Mr. Garten’s declaration.

   Mr. Garten’s declaration and Mr. Trump’s certification must be filed no later than September 12,

   2023.
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           DONE AND ORDERED in Chambers in Miami, Florida, this ____ day of September,

   2023.



                                                ____________________________________
                                                EDWIN G. TORRES
                                                Chief United States Magistrate Judge
